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                          THE UNITED STATES DISTRlCT COURT

                             FOR THE DISTRICT OF OREGON



OREGONNATURALDESERT ASS'N,

                                                        No. 3:09-cv-369-PK

            Plaintiff,

       v.                                               OPINION AND ORDER



BRENDAN CAIN, Bums District Manager,
BLM, et al.,

            Defendants,

       and

HARNEY COUNTY,

            Defendant-Intervenor-
            Cross-Claimant.


PAPAK,J.

       Plaintiff Oregon Natural Desert Association (ONDA) seeks judicial review of two

final agency decisions concerning the designation of routes available for motorized travel in

the Steens Mountain Cooperative Management and Protection Area (CMPA): the decision of

the Interior Board of Land Appeals (IBLA), on remand from this court, to affirm the Bureau

of Land Management (BLM)'s adoption of the Steens Mountain Travel Management Plan

(TMP); and BLM's subsequent decision to issue the Steens Mountain Comprehensive


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   Recreation Plan. ONDA claims that these two decisions violate the Steens Mountain

   Cooperative Management and Protection Act of2000 (the Steens Act), 16 U.S.C. §§ 460nnn -

   460nnn-122; the Federal Land Policy and Management Act of 1976 (FLPMA), 43 U.S.C. §§

   1701-87; the Wilderness Act of 1964, 16 U.S.C. §§ 1131-36; and the National Environmental

   Policy Act (NEPA), 42 U.S.C. §§ 4321-61. Third Am. & Suppl. Comp!., ECF No. 244.

   Defendants are BLM; Brendan Cain, Burns District Manager, BLM; Rhonda Karges,

   Manager, Andrews Resource Area, BLM (I refer to these defendants collectively as BLM);

   and the IBLA. Harney County has intervened as a defendant, and asserts cross-claims against

   BLM under NEPA and the Steens Act.

             In 2007, BLM issued the Travel Management Plan (TMP) decision at issue here. In

   2008, ONDA appealed the TMP to the IBLA. In 2009, the IBLA affirmed the TMP decision

   almost in its entirety, reversing only the TMP's allowance of motorized traffic on Obscure

   Routes.

             ONDA then filed this action seekingjudicial review of the IBLA's decision. In 2011,

   on cross-motions for summary judgment, I remanded the case to the IBLA for further

   proceedings on seven of the nine issues raised by ONDA. Oregon Natural Desert Ass 'n v.

   1\1cDaniel, No. 09-cv-369-PK, 2011 WL 1654265, at* 10 (D. Or. April 28, 2011), ECF No.
   103 (0 & 0). I concluded that the IBLA's opinion was arbitrary and capricious because it had

   failed to address the seven issues "sufficiently to create a record for judicial review." Id.

   (footnote omitted). The most troubling issue for me was "the IBLA's complete failure to

   review the TMP's individual route determinations, the methodology BLM employed in

   conducting its route inventory, or the evidence presented by ONDA that BLM's route

   designations ignored the actual conditions on the ground." Id. I did not rule on the merits of

   ONDA's claims on the seven issues, leaving that for the IBLA to resolve on remand. 1

             On remand, after receiving additional evidence and briefing, the IBLA affirmed the



I The 0 & 0 vacated the IBLA's decision, but on a motion for reconsideration, I ruled that vacating the
decision was not necessaiy. Oregon Natural Desert Ass 'n v. McDaniel, No. 09-cv-369-PK, 2011 WL
3841550 (D. Or. July 8, 2011), ECF No. 118.

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TMP in its entirety. Oregon Natural Desert Ass'n (On Judicial Remand), IBLA No.

2008-59-1, 185 IBLA 59, 2014 WL 7150267, ECF No. 203 (IBLA Sept. 30, 2014) (IBLA

Op.). In affirming the TMP, the IBLA sua sponte vacated its prior reversal ofBLM's

designation of Obscure Routes as open to motorized travel.

       In 2015, BLM issued the Comprehensive Recreation Plan (CRP). In preparing the

CRP, BLM reexamined the Obscure Routes and decided to close many of the Obscure Routes

to motorized travel.

       ONDA now seeks judicial review of the 2014 IBLA decision and the 2015 CRP. For

the following reasons, I conclude that the 2014 IBLA decision and BLM' s 2015 CRP decision

are supported by substantial evidence in the record, are not contrary to law, and are not

arbitrmy or capricious. I therefore deny ONDA's Motion for Summmy Judgment and grant

BLM's Cross-Motion for Summmy Judgment. I deny Harney County's Motion for Summary

Judgment. I deny the parties' motions to strike.

                                   LEGAL STANDARDS

I. Legal Standard for Judicial Review of Final Agency Decisions

       When reviewing a final agency decision under the Administrative Procedure Act

(APA), the court determines whether the agency's decision was "arbitrmy, capricious, an

abuse of discretion, or otherwise not in accordance with law." 5 U.S.C. § 706(2)(A). Before

overturning an agency decision under the APA's deferential standard of review,

    the court must consider whether the decision was based on a consideration of the
    relevant factors and whether there has been a clear error of judgment. Although
    this inquhy into the facts is to be searching and careful, the ultimate standard of
    review is a narrow one. The court is not empowered to substitute its judgment for
    that of the agency.

Citizens to Preserve Overton Park v. Volpe, 401U.S.402, 416 (1971) (citations omitted),

abrogated in part on other grounds by Califtmo v. Sanders, 430 U.S. 99, 105 (1977). The

court presumes that the agency acted properly and affirms when "'a reasonable basis exists for

its decision."' Nw. Ecosystem Alliance v. US. Fish & Wildlife Serv., 475 F.3d 1136, 1140 (9th

Cir. 2007) (quoting Independent Acceptance Co. v. California, 204 F.3d 1247, 1251 (9th Cir.



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2000) (citations omitted)). The plaintiff bears the burden of showing that an agency decision

or action was arbitrmy and capricious. Kleppe v. Sierra Club, 427 U.S. 390, 412 (1976).

          The parties have filed cross-motions for summary judgment under Federal Rule of Civil .

Procedure 56. See City & Cty. ofSan Francisco v. United States, 130 F.3d 873, 877 (9th Cir.

1997) (summmy judgment is '"an appropriate mechanism for deciding the legal question of

whether the agency could reasonably have found the facts as it did"') (quoting Occidental

Eng'g Co. v. INS, 753 F.2d 766, 770 (9th Cir. 1985)). But when a comi reviews an agency

decision, the AP A's legal standards, not those of Rule 56, govern. In this context, "summary

judgment" is "simply a convenient label to trigger" judicial review. Klamath Siskiyou

Wild/ands Ctr. v. Gerritsma, 962 F. Supp. 2d 1230, 1233 (D. Or. 2013), aff'd, 638 F. App'x

648 (9th Cir. 2016).

II. Standard of Review for IBLA Decisions

          "Co mis apply the same standard of review of IBLA decisions as for review of agency

decisions generally." 0 & 0 at *9. This comi may reverse the IBLA's decision only if the

decision is arbitrary, capricious, not supp01ied by substantial evidence, an abuse of discretion,

or contra1y to law. Akootchook v. United States, 271 F.3d 1160, 1164 (9th Cir. 2001). "This

standard is narrow and a reviewing comi may not substitute its judgment for that of the

agency." Geo-Energy Partners-1983 Ltd. v. Salazar, 613 F.3d 946, 955 (9th Cir. 2010). The

reviewing court carefully searches the full record '"to determine whether it contains such

relevant evidence as a reasonable mind might accept as adequate to supp01i a conclusion and

whether it demonstrates that the decision was based on a consideration of relevant factors.'"

Akootchook, 271 F.3d at 1164 (quoting Hjelvik v. Babbitt, 198 F.3d 1072, 1074 (9th Cir.

1999)).

                                        BACKGROUND

          The Steens Mountain Cooperative Management and Protection Area (CMPA) "is a

high dese1i area ranging from aspen and juniper woodlands to sagebrnsh shrublands and

grasslands, punctuated by perennial and intermittent streams, springs, and riparian areas."

IBLA Op. at 65 (footnote omitted). The CMPA, which BLM manages, comprises more than

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420,000 acres of public land, as well as almost 67,000 acres of private land. Id Steens

Mountain, a 9,773-foot high mountain, is "the centerpiece of the CMPA" Id

        "The fundamental purpose of the Steens Act is 'to conserve, protect, and manage the

long-term ecological integrity of Steens Mountain for future and present generations."' Id at

64 (quoting 16 U.S.C. §§ 460mm(5)). The Steens Act restricts motorized and mechanized

travel on federal lands in the CMPA, "generally prohibiting off-road vehicle use and restricting

vehicle use to designated existing roads and trails (with limited exceptions) and precluding the

construction of new roads or trails (with limited exceptions)." Id at 65 (citing 16 U.S.C. §§

460mm-22). The Steens Act requires that BLM create "a comprehensive plan for the

long-range protection and management of the Federal lands included in the [CMP A]," 16

U.S.C. § 460mm-21 (b), including, "as an integral paii, a comprehensive transportation plan for

the Federal lands included in the [CMP A], which shall address the maintenance, improvement,

and closure ofroads and trails as well as travel access," 16 U.S.C. § 460nnn-22(a). The Steens

Act also closed about 100 miles ofroutes.

       In 2005, BLM adopted the Steens Mountain CMPA Resource Management Plan

(RMP). In developing the RMP, BLM prepared an Environmental Impact Statement, taking

public comments. See AR 11052-12237. The RMP included an abbreviated Transpo1iation

Plan (TP), "which provided guidance regarding the maintenallce, improvement, use, and

accessibility of roads and trails in the CMPA The TP also provided for a site-specific on-the-

ground route invent01y, which would update and map all existing routes in the CMPA." IBLA

Op. at 66. BLM began preparing a comprehensive Travel Management Plan, seeking to

determine '"how best to manage travel in the CMP A while protecting resources including

wilderness characteristics, providing for 'reasonable' access to private lands, providing for

sustainable livestock grazing, providing recreation opp01iunities, and otherwise meeting RMP

land management objectives."' Id (quoting Environmental Assessment at 3, AR 9955)

(footnote omitted).

       In 2007, this comi addressed ONDA's challenge to the Steens Mountain RMP. Oregon

Natural Desert Ass'n v. Shuford, No. 06-cv-242-AA, 2007 WL 1695162 (D. Or. June 8, 2007)

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(Shtrford), ajf'd sub nom. Oregon Natural Desert Ass 'n v. McDaniel, 405 F. App'x 197 (9th
Cir. 2010). In Sh1rford, this court denied ONDA's motion for summmy judgment except as to

ONDA's challenge to the TP. This court held that the TP

       violated the Steens Act for several reasons. First, the plan did not include a
       "comprehensive management system for travel over roads, ways, and trails."
       [Shuford, at *18.] Second, the plan explicitly provided for an additional
       environmental assessment and travel management plan, including further field
       inventories and need dete1minations, in order to complete the comprehensive
       transportation plan mandated by the Steens Act. Finally, the plan as it existed
       did not "describe or include a plan for managing different types of travel over
       specific areas, roads, routes or trails." [Shtrford, at *19.] Thus, the plan failed
       to address travel on hiking trails, an unambiguous requirement of the statute.

0 & 0 at *6 (citations omitted). After Sh1rford remanded the TP to BLM, this court denied

ONDA's request to vacate the TP, finding "no hmm to the public interest." Oregon Natural

Desert Ass'n v. Shtrford, No. 06-cv-242-AA, ECF No. 243, slip op. at 8 (D. Or. July 8, 2008)
(noting that the Steens Act "contains little guidance" on "the substance that must be contained

in a transportation plan"). Shortly after this court decided Shtrford, BLM rescinded the RMP

so that it could issue a new RMP incorporating this court's guidance.

       Meanwhile, in April 2007, BLM issued an Environmental Assessment (EA) for the

TMP. In the EA, BLM considered four alternatives, "maximize use," "minimal change,"

reduced use," and "proposed action." BLM based the "minimal change" alternative primarily

on ONDA's advice and comments.

       In November 2007, BLM issued the TMP decision, which designated 555 miles of

routes as Base Routes, defined as routes "cmTently open to motor vehicle travel." 0 & 0 at *4.

The 555 miles of Base Routes included 36 miles of Obscure Routes, defined as routes "hard to

locate on-the-ground." Id.

       ONDA appealed the TMP decision to the IBLA. In 2009, the IBLA affomed the TMP

except as to the TMP's allowance of motorized travel on Obscure Routes. ONDA appealed the

IBLA's 2009 decision to this court, leading to the 0 & 0 issued in 2011 and the subsequent

remand. In 2014, the IBLA issued its decision affirming the TMP in its entirety. In 2015,

BLM issued its CRP decision.



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                                              DISCUSSION

           ONDA contends that the 2014 IBLA decision affirming the TMP and the BLM's 2015

   CRP decision violate the Steens Act, FLPMA, the Wilderness Act, and NEPA. ONDA's

   claims focus primarily on whether BLM properly designated routes in the Steens Mountain

   Comprehensive Management and Protection Area that should be open to motorized travel. As

   explained below, I affirm the IBLA decision, which resolved the remanded issues in a

   comprehensive opinion that reviewed the voluminous evidence and thoroughly analyzed the

   complex legal issues.

   I. ONDA's Steens Act Claims

           In the 0 & 0, I remanded two issues concerning the BLM's alleged violations of the

   Steens Act: whether BLM violated the Steens Act's prohibition of off-road motorized travel,

   16 U.S.C. § 460nnn-22(b), by designating routes that did not exist as open to motorized travel;

   and whether BLM violated the Steens Act's prohibition on constructing new motorized roads

   or trails, 16 U.S.C. § 460nnn-22(d), by approving maintenance of routes that did not exist to

   allow motorized travel. ONDA now contends that the IBLA acted arbitrarily and capriciously

   in ruling for BLM on these issues. ONDA also contends that BLM's CRP decision violates the

   Steens Act.

           ONDA argues that IBLA's interpretation of the Steens Act does not deserve Chevron 2

   deference but only the lower level of deference described in United States v. 1'.£ead Corp., 533

   U.S. 218, 228 (2001). See Pl.'s Reply-Resp. 26-27 & n.6. ONDA distinguishes my prior

   ruling that Chevron deference applies to the IBLA's statutory interpretation of the Steens Act,

   0 & 0 at *12, arguing that the IBLA's sua sponte decision to reinstate the Obscure Routes
   does not deserve such deference. Adhering to my prior ruling, I agree with BLM that Chevron

   deference applies to IBLA's statutory interpretations of the Steens Act. In any event, my

   rulings would be the same under the less deferential lvfead standard.




2 Chevron U.S.A., Inc. v. Nat. Res. Defense Council, 467 U.S. 837 (1984).

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           A. BLM's Methods for Inventorying Routes

           The parties dispute whether the IBLA correctly affirmed the TMP's invento1y ofroutes

   designated for motorized travel. I find that the IBLA comprehensively addressed the

   "overriding factual issue" of"the accuracy and completeness ofBLM's route inventory."

   IBLA Op. at 76. The IBLA concluded, "Based on our careful review of the administrative

   record presented to the Court and as supplemented on judicial remand, we are persuaded that

   BLM's November 2007 [Decision Record] was based on a complete and accurate invento1y of

   the 555 miles of routes designated as open to motorized vehicle use in the CMPA." Id. at 77.

                   1. ONDA's Objections to the Route Inventory
           ONDA claims that the IBLA's affirmance ofBLM's methods for inventorying routes

   was m·bitrary and capricious. 3 ONDA contends that BLM conducted incomplete surveys, using

   ground-based surveys for only about 100 miles of the 555 miles designated as open to

   motorized travel. ONDA also contends that BLM's Route Analysis Fonns (RAFs) and post-

   decision declarations submitted during remand proceedings were incomplete because the RAFs

   covered only about 45 miles of the 121 miles of routes that ONDA had identified as being of

   concern, and did not address any Obscure Routes. ONDA also contends that the RAFs did not

   address whether the routes existed on the ground, and included almost no ground-based

   photographs. ONDA contends that BLM failed to address the thousands of photographs

   ONDA provided during the EA NEPA process.

           As to the Obscure Routes issue, ONDA contends that the IBLA's sua sponte decision

   to reverse its prior decision and to reinstate Obscure Routes as open to motorized travel was

   arbitra1y and capricious because no new evidence in the record suppmied that decision.

   ONDA also contends that the IBLA's reinstatement of the Obscure Routes violated the Steens

   Act's prohibition against driving cross-countty and against establishing new roads in the

   CMP A. ONDA also attacks the IBLA Opinion's ruling that a route may exist as a matter of

   record, even if the route cannot be found on the ground.


3 In its reply brief, ONDA cites NEPA as the basis for its objection to the route inventory. Pl.'s Reply
13. I will address ONDA's objection as a claim under the Steens Act and NEPA.

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               2. BLM's Route Inventory Was Reasonable

       After considering ONDA's objections to the IBLA's affomance ofBLM's route

inventmy, I conclude that the IBLA's decision was not arbitra1y or capricious. The IBLA

reasonably concluded that BLM was not required to survey all possible routes on the ground,

but instead could rely on "other reliable evidence that can be used to determine the existence of

a route, whether that evidence consists of aerial photographs taken of the land in question at or

near the critical date, first-hand accounts by members of the public who visited the land in

question at or around the critical time, or other appropriate evidence." IBLA Op. at 86-87

(footnote omitted).

       The IBLA "considered ONDA's ground-level geo-referenced photographs and aerial

photographs of various routes," but noted that "this evidence suffers from the fact that

ONDA's documentation does not concern all the challenged routes, and even where it does

concern such routes, the data is limited in nature." Id. at 87-88. The IBLA stated that ONDA

had provided "only a few ground-level photographs for each of the challenged routes, and each

of the photographs shows only a relatively short stretch of that route, i.e., the segment where

the route is obscure to some degree." Id. at 88. The IBLA found that "most of these

photographs disclose the existence ofroutes, although they have become partially obscured by

vegetative growth and weathering." Id.

       ONDA argues BLM's own wilderness handbooks require on-the-ground surveys to

establish the existence of a route. I agree with BLM that even ifthe handbooks cited by

ONDA required the exhaustive procedures ONDA advocates, the handbooks are not binding

on BLM. See, e.g., Moore v. Apfel, 216 F.3d 864, 868-69 (9th Cir. 2000) (provision in agency

litigation manual was not binding on agency because it "creates no substantive rights" and

instead "provides [agency] staff with internal procedures").

       The IBLA Opinion states that although BLM "did not survey all of the routes

designated as open to motorized travel on the ground," "BLM' s methodology for determining

routes to be designated was appropriate to the task, and yielded complete and accurate results

regarding existing routes from which it could be dete1mined whether they were, in appropriate

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   instances, in existence on October 30, 2000, in the case of the CMPA, or October 21, 1976, in

   the case of the [Wilderness Study Areas]." IBLA Op. at 90. 4 ONDA has not shown that the

   Steens Act or NEPA requires that BLM conduct an arduous, time-consuming, and expensive

   route-by-route analysis if other methods are sufficient to conduct the inventory.

           The IBLA Opinion stated that because almost all of the public lands in the CMPA are

   covered by about 40 grazing allotments, "most of the allegedly nonexistent or obscure routes

   reportedly provide access to the grazing permittees, for the purposes of monitoring and

   maintaining fences, reservoirs, and other rangeland improvements, and to BLM, for the

   purposes ofrangeland monitoring, maintaining grazing improvements, and grazing

   management." IBLA Op. at 91 (footnote omitted). In responding to ONDA's argument that

   routes may be visible in aerial photographs but difficult or impossible to follow on the ground,

   the IBLA ruled that the issue was not "whether the routes at issue may be easily followed, only

   whether they exist. If they can be discerned from the air, we conclude that they exist." IBLA

   Op. at 87 n.31. The IBLA reasoned that the Steens Act gives BLM discretion to designate

   existing routes, and that the statute "does not define what is meant by an existing route. It does

   not exclude routes that have become overgrown or otherwise naturally reclaimed, but whose

   line may be traced on the ground, or exclude routes that have been infrequently used in the

   past." IBLA Op. at 87 (footnote omitted). The IBLA's interpretation of the Steens Act as

   applied to the existence of a route is reasonable and entitled to deference.

           The IBLA also ruled that the Steens Act does not exclude "routes that exist only as a

   matter ofrecord." Id The IBLA stated th.at the Steens Act "prohibit[s] any 'off road'

   motorized travel or the creation of any 'new road or trail for motorized or mechanized

   vehicles,' except in limited circumstances. A new route is clearly one that never existed, but

   has now been brought into existence, by construction or use." Id. (quoting 16 U.S.C. §

   460nnn-22(b) and (d) (emphasis added)). "Routes that exist only as a matter of record" include

   routes that appear on old maps, are noted in reports by local ranchers or other land owners, or


4 October 20, 2000 is the effective date of the Steens Act. October 21, 1976 is the effective date of
FLPMA.

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are visible in aerial photographs, but are no longer apparent on the ground for the entire length

of the route. The IBLA Opinion explained its reasoning:

       So long as a route existed as a matter of record, the fact that it has become
       overgrown or otherwise has been reclaimed by natural processes, which affects
       the degree to which it might be restored to full use by blading or other means,
       does not render it a new route or its use a "de facto construction of new road."
       Nor does BLM's authorization of blading or other maintenance of a route that
       existed as the time of enactment of the Steens Act, either on the ground
       (although obscure) or as a matter ofrecord (although apparently nonexistent),
       even where it dramatically improves the ability to follow the route on the
       landscape, constitute impennissible new construction. The use of any such
       route is not properly characterized as "off-road" within the meaning of the Act.

IBLA Op. at 102 (citation omitted). I conclude that the IBLA's interpretation of the Steens

Act's application to routes that exist only as a matter of record is entitled to deference.

       The IBLA's opinion also resolved the ambiguity in the Steens Act's prohibition of off-

road motorized travel, which I noted in the 0 & 0 remanding this action:

       The Steens Act, however, contains a strange textual ambiguity. While [16
       U.S.C.] § 460nnn-22(b)(l)(A) prohibits motorized "off road" travel,§
       460nnn-22(b)(l)(B) permits motorized travel on "roads and trails" designated
       by the transportation plan. Thus, in the same breath, the Steens Act bans
       motorized vehicles on anything but "roads," yet permits motorized vehicles on
       "trails." This inherent contradiction undercuts the IBLA's reasoning based on
       the definitions of Obscure Routes, and ONDA's proposed extension of that
       reasoning to Historical Routes. Even if a route characterized as a Historical
       Route is hard to locate on the ground and thus cannot be a "road," it could
       potentially be a "trail" which BLM can designate for motorized travel under §
       460nnn-22(b)(1 )(B). It is not my role to harmonize these apparently
       contradictory provisions of the Ste ens Act or to conduct a judicial review of the
       IBLA's determination that opening Obscure Routes violated the Steens Act.

O&Oat*l4.

       On remand, the IBLA concluded that "since the statute clearly meant to allow BLM to

designate roads and trails as open to motorized travel, the prohibition against motorized off-

road travel logically can only mean that motorized travel that does not occur on either a road

or a trail is prohibited." IBLA Op. at 98 (footnote omitted). Based on this conclusion, the

IBLA ruled that "to the extent Obscure Routes constitute trails, their designation as open to

motorized travel does not violate the statutory prohibition of motorized off-road travel." Id at

99. After resolving the statutoty ambiguity, the IBLA concluded that it had erred in its



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previous opinion when it ruled that BLM had improperly designated Obscure Routes as open to

motorized travel. Id. I find that the IBLA's decision on this issue is a reasonable interpretation

of the Steens Act.

        ONDA contends that regardless of whether BLM classifies a route as a "road" or

"trail," ONDA's photographs show that driving or mechanical maintenance on Obscure Routes

"will involve cross-country travel that cmshes vegetation and establishes new roads." Pl.'s

Reply-Response 28. BLM responds that most of the Obscure Routes ONDA challenges are

classified as "ways" in the Wilderness Study Area, where mechanical maintenance is

prohibited. BLM also notes that many routes in the CMPA are primitive and maintained "by

use more than equipment," so safety and use dictate the maintenance provided, and correcting

drainage issues is the focus of primitive route maintenance. Defs.' Reply 5. The IBLA noted

that although BLM is prohibited from authorizing the construction of new trails for motorized

or mechanized use "where a route never existed," BLM "may authorize the use of trails for

motorized or mechanized use where an exiting road has been naturally reclaimed to the point

that it becomes an existing trail." IBLA Op. at 100-01.

       ONDA also argues that the IBLA Opinion improperly affirmed BLM's authorization of

motorized travel on about 9 miles of ATV routes. ONDA contends that these ATV routes

"will have to be mechanically reconstructed ... [because] [o]therwise even motorists on an

ATV ... will have to drive around large rocks and eroded gullies--i. e., drive cross-country ...

." Pl.'s Reply-Response 28. The IBLA determined, however, that ATV routes "are not routes

that 'have been destroyed by landslides and natural erosion events,"' but rather are "routes that

have been affected by landslides and natural erosion events to the point that they are no longer

safe for full-sized vehicles." IBLA Op. at 102 (quoting ONDA's brief) (emphasis added by the

IBLA). BLM states that ONDA's own photographs show the ATV routes on the ground, and

argues that these existing ATV routes may be maintained to ensure safety and avoid undue

harm. I find that BLM's designation of ATV routes as open to motorized travel is reasonable

and does not violate the Steens Act.

       I conclude that the IBLA Opinion affirming BLM's inventory of routes is supported by

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substantial evidence and is not arbitrmy or capricious. I therefore affirm the IBLA's ruling that

the TMP did not violate the Steens Act. I also conclude that the CRP does not violate the

Steens Act.

II. ONDA's FLPMA Claim

       In the 0 & 0, I remanded the issue whether BLM has violated FLPMA's non-

impairment mandate for Wilderness Study Areas, 43 U.S.C. § 1782(c), by designating as open

to motorized travel Historical Routes or other routes that either did not exist or came into

existence after FLPMA's 1976 effective date. I stated in the 0 & 0, "FLPMA requires BLM

to manage the [Wilderness Study Areas] 'in a manner so as not to impair the suitability of such

areas for preservation as wilderness, subject, however, to the continuation of existing mining

and grazing uses and mineral leasing in the manner and degree in which the same was being

conducted on October 21, 1976."' 0 & 0 at *15 (quoting 43 U.S.C. § 1782(c)).

       I noted in the 0 & 0, "While ONDA repeatedly objected to an extension of public

motorized access, it conceded that continued motorized use by grazing permittees was proper;

even ifthat use was not documented in BLM's late-1970's Wilderness EIS." 0 & 0 at *16.

Fmihermore, I stated that "[i]f indeed the TMP only allows grazing permittees to continue their

pre-FLPMA access over what are now te1med Historical Routes, I cannot see how those

Historical Routes violate the FLPMA, especially since ONDA repeatedly conceded that

'recollected' historic use by permittees would not run afoul of the FLPMA." Id. at* 16.

However, I noted that ONDA could argue on remand that the TMP either establishes Historical

Routes that were not used by grazing permittees before the enactment ofFLPMA, or

improperly permits the general public to travel on Historical Routes previously used only by

grazing permittees.

       On remand, the IBLA dete1mined that the TMP allows only grazing permittees to use

Historical Routes in Wildlife Study Areas. ONDA argues that if a route has become

"overgrown--in effect, 'closed' by nature-- then BLM cannot now designate it as open in the

Steens Mountain travel plan." Pl.'s Mot. 39. BLM responds that accepting ONDA's position

would in effect punish pe1mittees who do not use an Historical Route frequently enough to

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keep it visible on the ground. I agree with BLM that closing overgrown Historical Routes

would not be consistent with FLPMA.

        ONDA also argues that BLM has not properly documented Historical Routes in

Wilderness Study Areas (WSAs). ONDA contends that BLM relied on inadequate evidence of

grazing routes, such as the recollection of Dick Jenkins, a rancher, and reports submitted by

Harney County. ONDA contends that BLM's Wilderness EIS does not disclose several

"pioneered routes" that BLM now contends were in existence when FLPMA was enacted in

1976. However, as discussed above, I agree with the IBLA that BLM's invent01y methods

were reasonable.

       As to the 2015 Comprehensive Recreation Plan (CRP), ONDA argues that the CRP

violates FLPMA's non-impairment provision because BLM did not close all of the Obscure

Routes potentially reopened by IBLA's 2014 ruling. ONDA argues that these Obscure Routes

have been "naturally reclaimed" and no longer exist on the ground.

       BLM responds that these routes are not open to the public, and will be used only by

grazing pe1mittees, landowners, and BLM and its contractors, and will be maintained only by

the passage of vehicles, absent a site-specific NEPA analysis for safety or resource concerns.

BLM argues that it is required to provide access for grandfathered grazing, and the Steens Act

requires it to provide reasonable access to non-federal lands. I conclude that BLM may

designate these routes as open for motorized travel so long as they are used only by grazing

permittees and other authorized users.

       ONDA also argues that the 2007 Travel Management Plan (TMP) violates a FLPMA

regulation, 43 C.F.R. § 8342.l(a)-(c), on minimizing impacts to soil, vegetation, wildlife, air,

water, and cultural resources. Pl.'s Mot. 41-42. ONDA contends that the Environmental

Assessments for the TMP and the CRP "contain no route-specific discussion in any of their

sections addressing these resources." Pl. 's Mot. 42. Because this claim was not included in 0

& O's list of seven issues to be resolved on remand, BLM argues that ONDA is in effect

asking this court to remand a new FLPMA issue to be addressed by the IBLA for the first time,

flouting finality and the efficient use of judicial resources. BLM also argues that ONDA's

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   FLPMA minimization argument fails because the Steens Mountain Resource Management

   Plan (RMP) previously established off-road vehicle designations, and ONDA litigated and lost

   a minimization challenge against the RMP designations. Shtrford, 2007 WL 1695162, at *14. I

   conclude that even if ONDA may bring a claim that was not included in the issues for remand,

   ONDA has not shown that it is entitled to prevail on the merits of its FLPMA minimization

   claim.

   III. ONDA's Wilderness Act Claim

            In the 0 & 0, I remanded the issue whether BLM violated the Wilderness Act's non-

   impaitment mandate for wilderness areas by designating as open to motorized travel Historical

   Routes or other routes that either did not exist or came into existence after the Steens Act's

   2000 effective date. See 16 U.S.C. § l 133(b). As noted above, on remand, the IBLA ruled that

   Historical Routes could be used only in limited circumstances by "grandfathered" grazing

   permittees.

            The IBLA had a rational basis for its ruling that the five Historical Routes' specified by

   ONDA could be used only for limited grazing pmposes. By interviewing pe1mittees, BLM

   could reasonably dete1mine the need for, and the existence of, Historical Routes used for

   salting and reservoir checking. I find no error in the IBLA's determination that the Historical

   Routes at issue "existed when the [Wilderness Area] was created on October 30, 2000, and on

   October 21, 1976." IBLA Op. at 115. I conclude that because these Historical Routes exist,

   and are used only for limited purposes, ONDA has not shown that BLM has violated the

   Wilderness Act's non-impairment mandate.

   IV. ONDA's NEPA Claims

            ONDA claims that BLM violated NEPA by inadequately assessing the environmental

   baseline and by failing to prepare an Environmental Impact Statement (EIS). NEPA is a



5 Jn the 0 & 0, I noted that "ONDA and BLM's current briefing on ONDA's Wilderness Act claim
primarily concerns ... whether five specific routes (either Historical Routes or Grazing Permit Routes)
designated by the TMP violate the Wilderness Act." 0 & 0 at *17. Because the IBLA on remand
addressed only these five specific routes, on review of the IBLA's decision it would not be appropriate
for this comt to resolve the merits of any other such routes ONDA challenges now. See 0 & 0 at *21.

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   procedural statute that does not mandate particular results, but rather sets a review process to

   "ensure that federal agencies take a hard look at the environmental consequences of the

   proposed action." Sierra Club v. Bosworth, 510 F.3d 1016, 1026 (9th Cir. 2007).

          A. Inaccurate Baseline Information

          ONDA contends that BLM failed to evaluate and disclose an accurate environmental

   baseline. "The establishment of a 'baseline is not an independent legal requirement, but rather,

   a practical requirement in environmental analysis often employed to identify the environmental

   consequences of a proposed agency action."' Oregon Natural Desert Ass 'n v. Jewell, 840 F.3d

   562, 568 (9th Cir. 2016) (quoting American Rivers v. FERC, 201F.3d1186, 1195 n.15 (9th

   Cir. 1999)).

          ONDA contends that BLM provided inaccurate information about the existence of

   routes to the public and the IBLA, leading the IBLA "to believe that the [Travel Management

   Plan and the Comprehensive Recreation Plan were6] merely formalizing 'an existing network'

   of roads that were already there, not approving motorized use and mechanical maintenance that

   would ... result in new disturbance tantamount to cross-countty driving and creation of new

   roads." Pl. 's Reply-Response 17. The IBLA on remand rejected ONDA's NEPA baseline

   argument. The IBLA concluded that the EA formulated and fully considered "Alternative C,"

   which used ONDA's route invento1y and TMP recommendations. I agree with the IBLA that

   "in summarizing the material offered in support of and in opposition to the designation of 555

   miles of routes as open to motorized travel, the EA adequately established the environmental

   baseline for purposes ofBLM's consideration of the likely impacts of the proposed TMP

   decision." IBLA Op. at 121.

          As to the CRP, BLM argues that the CRP adequately explained each Obscure Route

   that it considered for closure but decided to open. I conclude that BLM acted reasonably in

  designating a limited number of Obscure Routes as open to motorized travel. I note that

  Hamey County's motion challenges BLM's decision to close some of the Obscure Routes,


6 I agree with BLM that ONDA's reference to "the TMP-CRP" inaccurately conflates two independent
final agency decisions.

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discussed below.

         B. Failure to Prepare an EIS

         ONDA contends that BLM improperly failed to create an EIS that would address routes

that ONDA asserts "have been naturally reclaimed into the landscape and therefore no longer

exist, and routes that are causing resource damage, such as crossing streams or creating erosion

problems." Pl.'s Reply-Response 18. NEPA requires agencies considering "major Federal

actions significantly affecting the quality of the human environment" to prepare an EIS. 42

U.S.C. § 4332(2)(C). To determine whether an EIS is required, an agency may first prepare a

less extensive EA, as occurred here. 40 C.F.R. § 1501.4(b). If the EA finds that the proposed

action will significantly affect the environment, the agency then must prepare an EIS. W.

Watersheds Project v. Abbey, 719 F.3d 1035, 1050 (9th Cir. 2013). If the proposed action is

found to have no significant effect, the agency may issue a FONSI "accompanied by a

convincing statement of reasons to explain why a project's impacts are insignificant." Sierra

Club, 510 F.3d at 1018 (quotation marks and citation omitted).

         To determine whether the potential environmental effects of an agency action are

significant, agencies must evaluate "both context and intensity." 40 C.F.R. § 1508.27. In

assessing intensity or "severity of impact," agencies look to the applicable regulatory factors.

40 C.F.R. § 1508.27(b). A court may find a substantial effect based on just one of the

"intensity" factors. Ocean Advocates v. US. Army Corps ofEng'rs, 402 F.3d 846, 865 (9th

Cir. 2004). Courts in this district have held that even if no single factor justifies an EIS, an

agency may still be required to prepare an EIS when the factors are considered cumulatively.

See, e.g., Cascadia Wild/ands v. US. Forest Serv., 937 F. Supp. 2d 1271, 1283-84 (D. Or.

2013).

         Here, ONDA contends that NEPA requires BLM to prepare an EIS based on the

following three factors:

         (3) Unique characteristics of the geographic area, such as proximity to historic
         or cultural resources, park lands, prime fmmlands, wetlands, wild and scenic
         rivers, or ecologically critical areas.

         (4) The degree to which the effects on the quality of the human environment are

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           likely to be highly controversial.

           (5) The degree to which the possible effects on the human environment are
           highly unce1iain or involve unique or unknown risks.

   40 C.F.R. § 1508.27(b)(3), (4), and (5).

           As to unique characteristics, ONDA contends that opening more than 500 miles of

   routes to motorized travel may have a significant impact. ONDA cites the potential of

   motorized travel on the designated routes to fragment sage-grouse habitat, and to cause the

   spread of noxious weeds.

           BLM responds that the EA's analysis of effects on wildlife, including the sage-grouse,

   was "tiered" to the 2007 EIS prepared with the Steens RMP, which discussed the potential

   fragmentation issue. The IBLA noted, "BLM concluded, in its EA and DR, that designating the

   555 miles of routes as open to motorized travel was not likely to significantly fragment wildlife

   habitat or otherwise adversely affect wildlife or wildlife habitat." IBLA Op. at 126. The IBLA

   also noted, "While the motorized use of individual roads and trails will undoubtedly affect

   sage-grouse, we are not persuaded, given the distribution of roads throughout the 496, 136-acre

   CMP A, which generally provides year-long habitat, and the exclusion of motorized travel

   during most of the critical breeding season, that the TMP decision may cumulatively impact

   sage-grouse in a significant manner." IBLA Op. at 127. Conversely, the IBLA stated, "IfBLM

   were to close existing routes to motorized travel, this action would concentrate motor vehicle

   use on a smaller number of routes, potentially increasing impacts to sage-grouse and other

   aspects of the human environment." Id As I ruled when addressing a similar issue in Oregon

   Natural Desert Ass 'n v. Cain, 17 F. Supp. 3d 1037, I 056 (D. Or. 2014), BLM may reasonably

   rely on a study indicating that "[fJragmentation by rarely-traveled dirt roads has not been found

   to be a negative influence on lek7 persistence, nor has presence of secondaiy roads." (Citation

   and quotation marks omitted.)

           As to noxious weeds, BLM notes that the Steens EIS has already addressed this issue for




7 "Lek" is an area where sage-grouse gather for courtship display.

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the majority of routes in the RMP, finding that while the motorized travel would introduce and

spread weeds, management policies would limit the overall spread. In Cain, I concluded that

BLM had reasonably found that "its [road] maintenance activities would not contribute to the

spread of noxious weeds." 17 F. Supp. 3d at 1054-55. The IBLA noted that ONDA has shown

"only a difference of professional opinion regarding likely impacts, which is not sufficient to

establish a NEPA violation." IBLA Op. at 129. I agree that when specialists' views conflict,

the agency "must have discretion to rely on the reasonable opinions of its own qualified expert

even if, as an original matter, a court might find contrary views more persuasive." Marsh v.

Oregon Nat. Res. Council, 490 U.S. 360, 378 (1989); see also Cain, 17 F. Supp. 3d at 1056

(BLM could properly prefer the opinion of its weed expe1t over that of ONDA's expert).

       As to the controversial effects factor, ONDA argues that "nothing could be more 'highly

controversial' than BLM's assumption of 556 miles of 'existing' roads, when contrasted with

the ONDA inventories and the comments of20,000 citizens who urged BLM to consider that

information and to reduce motorized use on Ste ens Mountain." Pl.' s Reply-Response 24

(emphasis deleted). In this context, however, "controversial" "refers to disputes over the size or

effect of the action itself, not whether or how passionately people oppose it." Wild Wilderness

v. Allen, 871 F.3d 719, 728 (9th Cir. 2017). BLM notes that "'many commenters asked the
BLM to preserve the remaining vehicular routes."' Defs.' Reply 33 (quoting AR 798). I agree

with BLM that the controversy over motorized travel does not rise to a level that would require

BLM to prepare an EIS.

       As to the uncertainty factor, ONDA argues that the possible effects ofBLM's travel plan

are highly unce1tain because BLM' s invent01y and methods are so unreliable. Because I have

found that BLM did not act umeasonably in creating the route invent01y, I disagree that the

effects of the TMP and CRP are so uncertain as to require an EIS. See In Defense ofAnimals v.

US. Dep 't ofInterior, 751 F.3d 1054, 1070 (9th Cir. 2014) (agency need not prepare EIS unless

effects of project are "highly uncertain" (internal quotation and citation omitted)). Rather than

authorizing a new activity with an unce1tain effect, the TMP instead authorized a continuation

of the use of already existing routes. See IBLA Op. at 131 (in the EA, BLM "expressly

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determined that the likely impacts of designating the routes as open to continued motorized

travel was not likely to impact any aspect of the human environment in a highly uncertain

manner, because they had been in existence for quite some time"). I conclude that the IBLA

reasonably determined that BLM was not required to prepare an EIS for the TMP based on

significant impact, controversy, or uncertainty. For the same reasons, I conclude that BLM did

not violate NEPA in deciding not to prepare an EIS for the CRP decision.

V. BLM's and Harney County's Cross-Motions for Summary Judgment

       BLM and Harney County have filed cross-motions for summary judgment on Harney

County's cross-claims against BLM under the Steens Act and NEPA. Harney County claims

that BLM violated its duty under the Steens Act to consult with the advis01y council and the

public when deciding whether "to permanently close an existing road in the [Cooperative

Management and Protection Area (CMPA)] or to restrict the access of motorized or mechanized

vehicles on certain roads." 16 U.S.C. § 460nnn-22(c); see 16 U.S.C. § 460nnn-51 (defining role

of advis01y council). Harney County objects to BLM's procedures leading up to the CRP

decision to close some Obscure Routes.

       BLM contends that it adequately consulted with Harney County about the closures, and

Harney County lacks standing to raise this objection. Based on the record, I agree with BLM

that it complied with the Steens Act and NEPA in the procedure it used to issue the CRP.

Harney County has not shown it was unable to adequately consult on BLM' s decision to close

some of the Obscure Routes. I need not address standing.

VI. Motions to Strike

       A. BLM's Motion to Strike

       I deny BLM's motion to strike the Seventh Declaration of Chris Miller. Miller's

declaration, with attached tables and photographs, gives ONDA's views on the routes it

contends should be closed to motorized travel.

       B. ONDA's Motion to Strike

       I deny ONDA's motion to strike the Declaration of Stacy Fenton and the attached map.

Fenton states the map shows that Miller's declaration indicates more than 30 miles of routes "of

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concern" that were never previously cited by ONDA as problems.

                                     CONCLUSION

        ONDA's Motion for Summary Judgment, ECF No. 295, is DENIED. Hamey County's

Motion for Summary Judgment, ECF No. 293, and Cross-Motion for Summaty Judgment, ECF

No. 309, are DENIED. The Government's Cross Motion for Summary Judgment as to Harney

County's Motion, ECF No. 300, is GRANTED. The Government's Cross-Motion for Summmy

Judgment as to ONDA's Motion, ECF No. 304, is GRANTED. The Government's Motion to

Strike, ECF No. 301, and ONDA's Motion to Strike Notice, ECF No. 324, are DENIED as

moot.

        IT IS SO ORDERED.
        Dated this 13th day ofFebrumy 201s:-~-~-




                                           bnorable Paul Papak
                                          United States Magistrate Judge




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